MANDATE
      14-321-cv
                    Case
                       Case



      Dessaint v. Lignel
                         1:13-mc-00099-P1
                            14-321, Document
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                                             85, 12/17/2014,
                                                     35 Filed1396659,
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                                                                                     N.Y.S.D. Case #
                                                                                     13-mc-099(RJS)
                                     UNITED STATES COURT OF APPEALS
  1                                      FOR THE SECOND CIRCUIT
  2
  3                                           SUMMARY ORDER
  4
  5   RULINGS BY SUMMARY ORDER DO NOT HAVE PRECEDENTIAL EFFECT. CITATION TO A
  6   SUMMARY ORDER FILED ON OR AFTER JANUARY 1, 2007, IS PERMITTED AND IS GOVERNED
  7   BY FEDERAL RULE OF APPELLATE PROCEDURE 32.1 AND THIS COURT’S LOCAL RULE 32.1.1.
  8   WHEN CITING A SUMMARY ORDER IN A DOCUMENT FILED WITH THIS COURT, A PARTY
  9   MUST CITE EITHER THE FEDERAL APPENDIX OR AN ELECTRONIC DATABASE (WITH THE
 10   NOTATION “SUMMARY ORDER”). A PARTY CITING A SUMMARY ORDER MUST SERVE A COPY
 11   OF IT ON ANY PARTY NOT REPRESENTED BY COUNSEL.
 12
 13
 14           At a stated Term of the United States Court of Appeals for the Second Circuit, held at the
 15   Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York on the
 16   25th day of November, two thousand fourteen.
 17                                                        USDC SDNY
 18   Present:    ROSEMARY S. POOLER,                      DOCUMENT
 19               BARRINGTON D. PARKER,                    ELECTRONICALLY FILED
 20               RICHARD C. WESLEY,
 21                           Circuit Judges.              DOC #:   _________________
                                                                       Dec. 17, 2014
 22   _____________________________________________________DATE FILED: ______________
 23
 24   BARTHELEMY SAMUEL JEAN DESSAINT,
 25
 26                                    Plaintiff-Appellee,
 27
 28                             v.                                           14-321-cv
 29
 30   JEAN-CHARLES LIGNEL,
 31
 32                           Appellant.1
 33   __________________________________________
 34
 35   Appearing for Appellant:         John R. Cahill (Ronald W. Adelman, on the brief), Cahill Partners,
 36                                    LLP, New York, N.Y.
 37
 38   Appearing for Appellee:          Matthew A. Katz (Rebecca L. Fine, on the brief), Schindler Cohen
 39                                    & Hochman LLP, New York, N.Y.
 40
 41   Appeal from the United States District Court for the Southern District of New York (Sullivan,
 42   J.).
 43
 44


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                   The Clerk of Court is directed to amend the caption as above.

MANDATE ISSUED ON 12/17/2014
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                       14-321, Document
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 1        ON CONSIDERATION WHEREOF, IT IS HEREBY ORDERED, ADJUDGED,
 2   AND DECREED that the order of said District Court be and it hereby is AFFIRMED.
 3
 4            Jean-Charles Lignel appeals from the January 17, 2014 order of the United States
 5   District Court for the Southern District of New York (Sullivan, J.), sitting in Part One,
 6   dismissing his motion to vacate a March 26, 2013 Stipulation and Order (“March 26 Order”) as
 7   nonjusticiable. The March 26 Order permitted Barthelemy Samuel Jean Dessaint to subpoena
 8   documents related to Lignel from Christie’s Inc. (“Christie’s”) pursuant to an ex parte
 9   application under 28 U.S.C. § 1782. Lignel argues that he was entitled to notice of the subpoena.
10   We assume the parties’ familiarity with the underlying facts, procedural history, and
11   specification of issues for review.
12
13            “Article III of the Constitution limits federal courts’ authority—that is, our subject matter
14   jurisdiction—to disputes involving live cases and controversies.” Cnty. of Suffolk v. Sebelius,
15   605 F.3d 135, 140 (2d Cir. 2010) (internal quotation marks omitted); see also U.S. Const. art. III,
16   § 2. “In order to satisfy the case-or-controversy requirement, a party must, at all stages of the
17   litigation, have an actual injury which is likely to be redressed by a favorable judicial decision.”
18   United States v. Mercurris, 192 F.3d 290, 293 (2d Cir. 1999). Thus, “if an event occurs during
19   the course of the proceedings or on appeal that makes it impossible for the court to grant any
20   effectual relief whatever to a prevailing party, we must dismiss the case” as moot. United States
21   v. Blackburn, 461 F.3d 259, 261 (2d Cir. 2006) (internal quotation marks omitted). It is well
22   settled that where a case is moot the court may not “issue an advisory opinion.”ABC, Inc. v.
23   Stewart, 360 F.3d 90, 97 (2d Cir. 2004).
24
25            The district court found that Lignel’s motion was moot when filed. We agree. Lignel
26   sought an injunction against Dessaint to prevent further discovery of documents from Christie’s.
27   However, in order “[t]o obtain prospective relief, such as . . . an injunction, a plaintiff must
28   show, inter alia, a sufficient likelihood that he [or she] will again be wronged in a similar way.”
29   Marcavage v. City of New York, 689 F.3d 98, 103 (2d Cir. 2012) (alterations and emphasis in
30   original) (internal quotation marks omitted). But Lignel acknowledged before the district court
31   that all documents held by Christie’s concerning him had been produced to Dessaint and
32   submitted to the French courts. Because there is no reasonable expectation, or even allegation,
33   that further document production will occur, the district court correctly found that, with respect
34   to the injunction, Lignel lacked an actual injury capable of redress by a favorable decision. In the
35   absence of such a remedy, merely vacating the March 26 Order and communicating this decision
36   to the French courts, as Lignel seeks, would offer no effective relief as the French courts have
37   already received, reviewed, and relied on the Christie’s documents. The district court properly
38   declined to issue an advisory opinion.
39
40          We have considered the remainder of Lignel’s arguments and find them to be without
41   merit. Accordingly, the order of the district court is AFFIRMED.
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43                                                          FOR THE COURT:
44                                                          Catherine O’Hagan Wolfe, Clerk
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